                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                           :       Crim. No. 3:23-cr-26 (KAD) (TOF)
                                                    :
            v.                                      :
                                                    :
 GLENN OZTEMEL AND                                  :
 EDUARDO INNECCO                                    :
                                                    :

                   GOVERNMENT’S SUPPLEMENTAL RESPONSE TO
                 DEFENDANT GLENN OZTEMEL’S MOTION TO COMPEL

        The United States of America, by and through undersigned counsel, respectfully submits

this supplemental response to Defendant Glenn Oztemel’s (“Defendant”) Motion to Compel, ECF

No. 49 (the “Motion”), for the limited purpose of providing the Court with updated factual

information relevant to the government’s response to the Motion, ECF No. 54 (the “Response”).

        In the government’s Response, filed on June 14, 2023, the government indicated that it

had produced “the requested pen register application and order, all interview reports, and

additional Berkowitz materials . . .” to the Defendant. Response at 3. On June 26, 2023,

however, government counsel received additional materials from the FBI that were

responsive to the Defendant’s discovery requests, including additional interview reports,

rough agent notes, and other related records. Accordingly, on July 3, 2023, the government

produced those materials to the Defendant.1 See Ex. A (Jul. 3, 2023 Discovery Letter).




        1
          As a general principle, rough agent notes related to investigative interviews would not be required
to be produced at this time pursuant to Jencks v. United States, 353 U.S. 657 (1957) or 18 U.S.C. § 3500.
Nevertheless, the government is producing the agent notes it has identified now, six months before trial, so
that unnecessary pretrial motion practice can be avoided. Should additional relevant notes be located,
and/or created as part of the ongoing investigation and in preparation for trial, the government will produce
those notes to the Defendant.
                                       CONCLUSION

       For the reasons stated in the government’s initial Response, the government respectfully

requests that the Court deny the Motion.



                                                 Respectfully submitted,

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                                                 UNITED STATES ATTORNEY


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2023, a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.



                                                                /s/
                                                   Allison L. McGuire
                                                   Trial Attorney
